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UNITED STATES DISTRICT COURT
SGUTHERN DISTRICT OF NEW YORK

 

X
JOSE FIGUEROA, Case No.: l:lS-cV-O9929-PAC

Plaintiff,

~aqainst- VOLUNTARY DISMISSAL

WITH PREJUDICE
327 BLEECKER STREET LLC, NEIL BENDER,
JEAN PAGNOTTA, STEVEN PAPPAS, ANDREW
SECULAR, BARRY SECULAR, TORTILLA
FLATS, INC, WlLLIAM GOTTLIEB
MANAGEMENT CO, LLC,

Defendants.

 

WHEREAS, no Answer, no Notice of Appearance and no Motion has been filed by any
of the defendants and,

WHEREFORE, plaintiff hereby agrees to voluntarily dismiss this action With
prejudice as to all defendants, pursuant to Rule 4l(a)(l)(i) of the Fed. R. Civ. P. and requests
that the Clerk enter this Stipulation pursuant to Rule 4l(a)(l)(i) of the Fed. R. Civ. Without an
order of the Court. Each party shall bear his or its own attorney’s fees and costs.

Dated: Syosset, NeW York

January 28, 2019 ;@L\//{/@/

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